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                                   No. 23-10362

            UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT

                  ALLIANCE FOR HIPPOCRATIC MEDICINE, ET AL.,
                                                    Plaintiff-Appellees,
                                     v.

                  U.S. FOOD AND DRUG ADMINISTRATION, ET AL.,
                                                Defendants-Appellants.

On Appeal from the United States District Court for the Northern District of Texas,
               No. 2:22-cv-00223, Judge Matthew J. Kacsmaryk

 UNOPPOSED MOTION FOR LEAVE OF FORMER U.S. DEPARTMENT
   OF JUSTICE OFFICIALS TO FILE BRIEF AS AMICI CURIAE IN
          SUPPORT OF APPELLANTS AND REVERSAL

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       SUPPLEMENTAL STATEMENT OF INTERESTED PERSONS

             Alliance for Hippocratic Medicine, et al. v. U.S. Food and Drug
                               Administration, et al.

                                   No. 23-10362

      The undersigned counsel of record certifies that—in addition to the persons

and entities listed in defendants-appellants’ and intervenor-appellant’s Certificates

of Interested Persons—the following listed persons and entities as described in the

fourth sentence of Rule 28.2.1 have an interest in the outcome of this case. These

representations are made so the judges of this Court may evaluate possible

disqualification or recusal.


Amici Curiae

    Kent B. Alexander, U.S. Attorney, Northern District of Georgia (1994-1997)

    Donna A. Bucella, U.S. Attorney, Middle District of Florida (1999-2001)

    Leslie R. Caldwell, Assistant Attorney General for the Criminal Division,
     U.S. Department of Justice (2014-2017)

    Robert L. Capers, U.S. Attorney, Eastern District of New York (2015-2017)

    Zachary W. Carter, U.S. Attorney, Eastern District of New York (1993-1999)

    Tristram Coffin, U.S. Attorney, District of Vermont (2009-2015)

    James M. Cole, Deputy Attorney General, U.S. Department of Justice (2011-
     2015)

    Michael W. Cotter, U.S. Attorney, District of Montana (2009-2017)

    Deirdre M. Daly, U.S. Attorney, District of Connecticut (2013-2017)


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 Edward L. Dowd Jr., U.S. Attorney, Eastern District of Missouri (1993-1999)

 Jenny A. Durkan, U.S. Attorney, Western District of Washington (2009 –
  2014)

 Paul J. Fishman, U.S. Attorney, District of New Jersey (2009-2017)

 Benjamin C. Glassman, U.S. Attorney, Southern District of Ohio (2016-2019)

 Booth Goodwin, U.S. Attorney, Southern District of West Virginia (2010-
  2015)

 Jamie S. Gorelick, Deputy Attorney General, U.S. Department of Justice
  (1994-1997)

 Melinda Haag, U.S. Attorney, Northern District of California (2010-2015)

 David Hickton, U.S. Attorney, Western District of Pennsylvania (2010-2016)

 Stephen L. Hill, Jr., U.S. Attorney, Western District of Missouri (1993-2001)

 Eric H. Holder, U.S. Attorney General, U.S. Department of Justice (2009-
  2015); Deputy Attorney General, U.S. Department of Justice (1997-2001);
  U.S. Attorney, District of Columbia (1993-1997)

 Dwight C. Holton, U.S. Attorney, District of Oregon (2010-2011)

 Walter Holton, U.S. Attorney, Middle District of North Carolina (1994-2001)

 John Horn, U.S. Attorney, Northern District of Georgia (2015-2017)

 Jose de Jesus Rivera, U.S. Attorney, District of Arizona (1998-2000)

 Brendan V. Johnson, U.S. Attorney, District of South Dakota (2009-2015)

 Doug Jones, U.S. Attorney, Northern District of Alabama (1997-2001)

 Bill Killian, U.S. Attorney, Eastern District of Tennessee (2010-2015)

 Jim Lewis, U.S. Attorney, Central District of Illinois (2010-2016)



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 Loretta E. Lynch, Attorney General of the United States, U.S. Department of
  Justice (2015-2017); U.S. Attorney, Eastern District of New York (1999-
  2002, 2010-2015)

 Kenneth Magidson, U.S. Attorney, Southern District of Texas (2011-2017)

 Jerry E. Martin, U.S. Attorney, Middle District of Tennessee (2010-2013)

 Mary B. McCord, Acting Assistant Attorney General for National Security,
  U.S. Department of Justice (2014-2017)

 Zane David Memeger, U.S. Attorney, Eastern District of Pennsylvania (2010-
  2016)

 Eric Miller, U.S. Attorney, District of Vermont (2015-2017)

 Thomas Monaghan, U.S. Attorney, District of Nebraska (1993-2001)

 Florence T. Nakakuni, U.S. Attorney, District of Hawaii (2009-2017)

 Bill Nettles, U.S. Attorney, District of South Carolina (2010-2016)

 Denise E. O’Donnell, U.S. Attorney, Western District of New York (1997-
  2001)

 David W. Ogden, Deputy Attorney General of the U.S., U.S. Department of
  Justice (2009-2010); Assistant Attorney General for Civil Division, U.S.
  Department of Justice (1999-2001)

 Wendy J. Olson, U.S. Attorney, District of Idaho (2010-2017)

 Carmen M. Ortiz, U.S. Attorney, District of Massachusetts (2009-2017)

 Timothy Q. Purdon, U.S. Attorney, District of North Dakota (2010-2015)

 Ripley Rand, U.S. Attorney, Middle District of North Carolina (2011-2017)

 Emily Rice, U.S. Attorney, District of New Hampshire (2016-2017)

 Sarah R. Saldaña, U.S. Attorney, Northern District of Texas (2011-2014)



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   Randy Seiler, U.S. Attorney, District of South Dakota (2015-2017)

   Donald K. Stern, U.S. Attorney, District of Massachusetts (1993-2001)

   Charles J. Stevens, U.S. Attorney, Eastern District of California (1994-1997)

   Carter Stewart, U.S. Attorney, Southern District of Ohio (2009-2016)

   Thomas Strickland, U.S. Attorney, District of Colorado (1999-2001)

   Edward J. Tarver, U.S. Attorney, Southern District of Georgia (2009-2017)

   Lee Thompson, U.S. Attorney, District of Kansas (1990-1993)

   Anne Tompkins, U.S. Attorney, Western District of North Carolina (2010-
    2015)

   Stanley A. Twardy, Jr., U.S. Attorney, District of Connecticut (1985-1991)

   John W. Vaudreuil, U.S. Attorney, Western District of Wisconsin (2010-
    2017)

   Benjamin B. Wagner, U.S. Attorney, Eastern District of California (2009-
    2016)

   Seth P. Waxman, Solicitor General of the United States, U.S. Department of
    Justice (1997-2001)

   Billy J. Williams, U.S. Attorney, District of Oregon (2015-2021)

   Sally Yates, Acting Attorney General (2017); Deputy Attorney General
    (2015-2017); U.S. Attorney for the Northern District of Georgia (2010-2015)

Attorneys for Amici Curiae

   John F. Walsh

   Alan Schoenfeld

   David M. Lehn



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 Colleen M. Campbell

 Lauren Ige

 Arielle K. Herzberg

 Danielle L. Hartley

                                      _/s/ John F. Walsh_______________
                                      JOHN F. WALSH

                                      Counsel for Amici former high-
                                      ranking U.S. Department of Justice
                                      officials




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      Pursuant to Federal Rule of Appellate Procedure 27 and 29(a)(3) and the

Court’s letter of April 19, 2023 (ECF #206), movants, former U.S. Department of

Justice officials, respectfully move this Court for leave to file the accompanying

6351-word amicus curiae brief in support of appellants and reversal. All parties

have consented to the filing of this amicus brief.

I.    MOVANTS HAVE A SIGNIFICANT INTEREST IN THIS CASE

      Movants are 58 former high-ranking Department of Justice officials who

served in administrations of both major parties, including U.S. Attorneys General,

Deputy Attorneys General, Assistant Attorneys General, and U.S. Attorneys.

Movants held responsibility for enforcing federal criminal laws, including the

Comstock laws, 18 U.S.C. §§1461-1462, and represented the United States in

criminal matters in all levels of the Judiciary around the country. Movants have a

significant interest in how federal criminal laws are interpreted and in preserving

the Department of Justice’s role as the authoritative executive branch interpreter of

the Comstock laws.

II.   MOVANTS’ PROPOSED AMICUS CURIAE BRIEF WOULD PROVIDE
      ADDITIONAL ANALYSIS OF ISSUES THAT WERE CENTRAL TO THE RULING
      UNDER REVIEW

      This appeal seeks review of the district court’s decision staying various

actions by the Food and Drug Administration regarding mifepristone. Movants’

brief is desirable and relevant to the case because it will provide the Court with



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additional important analysis regarding issues that were central to the district

court’s decision: the relevance and meaning of the Comstock laws, 18 U.S.C. §§

1461-1462. Movants’ brief will explain that the district court erroneously assumed

that FDA was authorized and obligated to consider, interpret, and account for

federal criminal laws when approving a new-drug application or a risk evaluation

and mitigation strategy (“REMS”). The brief will also explain that even if the

Comstock laws bore on the validity of FDA’s actions, the actions would be valid

because they are consistent with the Comstock laws. The district court gravely

misinterpreted the Comstock laws to expand their reach far beyond Congress’s

intent, as shown by the laws’ text, structure, and numerous reenactments.

      Movants believe their brief will assist the Court in resolving these issues.

As former high-ranking Department of Justice officials who were responsible for

enforcing the Comstock laws, movants are well situated to provide insight into the

district court’s errors regarding the Comstock laws.

      Movants have diligently kept their brief to the shortest length necessary to

clearly present their most important arguments, while avoiding unnecessary

repetition of points already made in appellants’ principal briefs.

                                  CONCLUSION

      Accordingly, movants respectfully request that this Court grant leave to file

the accompanying amicus curiae brief.



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                                          Respectfully submitted,

                                          /s/ John F. Walsh
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                       CERTIFICATE OF COMPLIANCE

        This motion contains 427 words in compliance with Rule 27(d)(2)(A). This

filing complies with the typeface and typestyle requirements of Rule 27(d)(1)(E),

which refers to Rules 32(a)(5) and 32(a)(6), because it has been prepared in a

proportionally spaced typeface (14-point Times New Roman) using Microsoft

Word.

                                           /s/ John F. Walsh
                                           JOHN F. WALSH

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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 1st day of May 2023, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of Appeals for

the Fifth Circuit using the appellate CM/ECF system. Counsel for all parties to the

case are registered CM/ECF users and will be served by the appellate CM/ECF

system.




                                                     /s/ John F. Walsh
                                                     JOHN F. WALSH

May 1, 2023
